  1   PETER N. HADIARIS, ESQ.
      State Bar No. 122590
  2   23 Pleasant Lane
      San Rafael, CA 94901
  3   415/694-0052
      peter@hadiaris.com
  4   Attorney for plaintiff
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  8                         UNITED STATES BANKRUPTCY COURT
  9                        NORTHERN DISTRICT OF CALIFORNIA
 10
      In Re:                             )
 11                                      )
           ROBIN WILSON                  )                No. 16-31076
 12                                      )                Chapter 7
                         Debtor(s)       )
 13                                      )
      ___________________________________)
 14                                      )
      JUDITH BOLTER,                     )
 15                                      )
                         Plaintiff,      )                Adv. No. 17-03073
 16                                      )
      v.                                 )
 17                                      )                MOTION TO DISMISS
      ROBIN WILSON                       )                UNDER FRBP 7041
 18                                      )
                         Defendants.     )
 19   ___________________________________)
 20        Plaintiff Judith Bolter moves to dismiss this adversary
 21   proceeding under FRBP 7041, unless another party in interest
 22   chooses to continue prosecution of the objections to discharge.
 23   The grounds for this motion are that Bolter has settled her
 24   individual claims on terms that no longer give her an interest in
 25   the proceeding, and therefore she no longer has standing to
 26   pursue the objection to discharge.             This motion is based on the
 27   accompanying declaration of Peter N. Hadiaris and memorandum of
 28   points and authorities, and such other evidence as may come


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  1   before the court.
  2
  3   Dated: May 20, 2019                           PETER N. HADIARIS, ESQ.
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  5                                                 Peter N. Hadiaris
                                                    Peter N. Hadiaris, Esq.
  6                                                 Attorney for creditor
                                                    Judith Bolter
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